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       In the United States Court of Federal Claims
                     Nos. 16-1602C & 17-88C (not consolidated)

                         (Filed Under Seal: March 31, 2017)

                             (Reissued: April 7, 2017)

********************************** )
                                   )           Bid-protests; challenges to corrective
JACOBS TECHNOLOGY INC.,            )           action; jurisdiction; standing; ripeness;
                                   )           mootness; validity of the agency’s
            Plaintiff,             )           decision to take corrective action;
                                   )           inadequacy of showing to support
      v.                           )           discovery into alleged bias
                                   )
UNITED STATES,                     )
                                   )
            Defendant,             )
                                   )
      and                          )
                                   )
TRAX INTERNATIONAL                 )
CORPORATION,                       )
                                   )
            Defendant-Intervenor.  )

                                        )
TRAX INTERNATIONAL                      )
CORPORATION,                            )
                                        )
            Plaintiff,                  )
                                        )
      v.                                )
                                        )
UNITED STATES,                          )
                                        )
            Defendant,                  )
                                        )
      and                               )
                                        )
JACOBS TECHNOLOGY INC.,                 )
                                        )
            Defendant-Intervenor.       )
                                        )
**********************************
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       Robert J. Symon, Bradley Arant Boult Cummings LLP, Washington, D.C., for plaintiff
and defendant-intervenor Jacobs Technology Inc. With him on the briefs and at the hearings
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        Robert C. Bigler, Trial Attorney, Commercial Litigation Branch, Civil Division, United
States Department of Justice, Washington, D.C., for defendant. With him on the briefs were
Chad A. Readler, Acting Assistant Attorney General, Civil Division, Benjamin C. Mizer, former
Principal Deputy Assistant Attorney General, Civil Division, and Robert E. Kirschman, Jr.,
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Evan Williams, Attorney, United States Army.

                                   OPINION AND ORDER1

LETTOW, Judge.

        These bid protests address a procurement that has spanned years and has proved to be
refractory and intricate. A solicitation by the United States (“the government”), acting by and
through the United States Department of the Army (“Army” or “agency”), was initiated in 2013
for a mission-test, support-services contract at the United States Army Yuma Proving Ground
(“Yuma”) in Arizona. On September 10, 2014, the Army awarded the contract to Jacobs
Technology Inc. (“Jacobs”) after a procurement process that extended over approximately
sixteen months. TRAX International Corporation (“TRAX”), the incumbent contractor at Yuma
and another offeror in the procurement, protested the award at the Government Accountability
Office (“GAO”). Before GAO rendered a decision, the Army took corrective action and
reopened discussions with offerors. The Army awarded the contract to Jacobs a second time in
December 2015, but it renewed corrective action after TRAX again protested the award at GAO.
The Army awarded the contract to Jacobs for a third time in October 2016, which TRAX also
protested at GAO. In November 2016, the Army decided to take corrective action for a third
time, stating that it would reevaluate final proposals and make a new source selection decision.
The Army concluded that a third round of corrective action was warranted because (1) Jacobs
violated the solicitation by altering its oral presentation slides without making a new oral
presentation, and (2) TRAX proposed a staffing baseline that deviated from the baseline in the
solicitation.


       1
        Because this opinion and order might have contained confidential or proprietary
information within the meaning of Rule 26(c)(1)(G) of the Rules of the United States Court of
Federal Claims (“RCFC”) and the protective orders entered in these cases, it was initially filed
under seal. The parties were requested to review this decision and provide proposed redactions.
The resulting redactions are shown by brackets enclosing asterisks, e.g., “[***].”

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        Jacobs and TRAX have each filed suit in this court to challenge the Army’s most recent
corrective action, presenting diametrically divergent claims and seeking different relief. Jacobs
challenges the Army’s decision to take corrective action and contends that the Army’s corrective
action has an overly broad scope and is arbitrary and capricious. Jacobs seeks a permanent
injunction enjoining the Army from proceeding with the corrective action, thus allowing Jacobs
to receive the third contract award. In contrast, TRAX brings a bias claim against the Army on
the ground that the procurement officials have demonstrated favored treatment of Jacobs, as
evidenced by the three successive awards Jacobs has received and by the agency’s failure to
enforce a common baseline for the offerors’ staffing proposals, which allegedly has benefited
Jacobs and prevented TRAX from participating in a fair competition. TRAX contends that the
corrective action is not sufficiently broad and requests that the court issue an injunction directing
the Army to either (1) appoint new, unbiased procurement officials, or (2) cancel the solicitation
and resolicit revised proposals under fair terms.

        Pending before the court are the parties’ cross-motions for judgment on the
administrative record in Jacobs and TRAX’s motion for discovery and the government’s motion
to dismiss in TRAX. For the reasons stated, Jacobs’ motion for judgment on the administrative
record is denied, the government’s and TRAX’s cross-motions for judgment on the
administrative record in Jacobs are granted, TRAX’s motion for discovery is denied, and the
government’s motion to dismiss TRAX’s complaint is granted for failure to state a claim upon
which relief can be granted.

                                              FACTS2

              A. Mission Test Support Services at the Army Yuma Proving Ground

        The Yuma Proving Ground is an Army facility located in Arizona. AR 3a-210.3 Yuma’s
primary mission is to provide “the most flexible, responsive, innovative and diverse set of
capabilities and services across the spectrum of natural environments.” AR 3a-213. It tests
military equipment of varying types, with the materials tested and the “associated infrastructure
       2
        The recitations that follow constitute findings of fact by the court drawn from the
administrative record of the procurement filed pursuant to RCFC 52.1(a). See Bannum, Inc. v.
United States, 404 F.3d 1346, 1356 (Fed. Cir. 2005) (explaining that bid protest proceedings
“provide for trial on a paper record, allowing fact-finding by the trial court”).
       3
         Separate administrative records were filed by the government in Jacobs and TRAX. In
this opinion, citations to the administrative record refer to the record as filed on February 13,
2017 in TRAX, No. 17-88C. The administrative record in TRAX contains every tab and page
from the administrative record in Jacobs, No. 16-1602C, including identical numbering, but the
record in TRAX also contains an additional 18 tabs pertaining to the procurement at issue. See
AR Tabs 120-37.

        The record is divided into tabs and paginated sequentially. In citing to the administrative
record, the court will first designate the tab, followed by the page number. For example, AR 3a-
210 refers to tab 3a, page 210 of the administrative record.



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necessary to conduct each test chang[ing] constantly.” AR 3-97. The Army describes Yuma as a
“premier Army asset” with capabilities that are continually expanding, resulting in an increased
need for personnel to support the testing conducted at the facility. AR 3a-213.

         On May 16, 2013, the Army issued a Request for Proposals (“RFP”), solicitation number
W9124R-13-R-0001, regarding a contract for “Mission (Test) Support Services” at Yuma. AR
3-96 to -97. The RFP contemplated the award of a single “Cost-Plus-Award-Fee” contract with
a firm-fixed-price for a two month phase-in performance period, “a one-year base period of
performance from the [first] day of full contract performance, and three one-year option periods,
if exercised.” AR 3-108. The contractor would “provide personnel, management, and any other
items and services not government furnished to perform the services defined in th[e]
Performance Work Statement.” AR 3a-213.4 The contractor’s obligations would primarily
relate to providing specialized personnel and support for military testing. See AR 30-3206.

        The Army amended the RFP six times between May 23, 2013 and February 12, 2014
before making a contract award. See AR Tabs 4 to 8, 23. In amendment 6, the RFP provided for
a “best value source selection” where the Army would “select the best overall offer” based upon
four factors: “[m]ission [c]apability, [p]ast [p]erformance, [s]mall [b]usiness [p]articipation, and
[c]ost.” AR 23-2631. The procurement was to “be conducted using a two-phase process,”
consisting of an evaluation of (1) organizational conflicts of interest, and (2) the four factors
listed above. See AR 23-2614. The mission capability factor was “significantly more important”
than the past performance factor, which in turn was “more important” than the small business
participation factor. AR 23-2632. The first three factors combined were “approximately equal
to cost.” Id. The mission capability and cost factors are the pertinent factors at issue in these bid
protests.

   1. The mission capability factor.

        The Army’s evaluation of the mission capability factor would “consist of an assessment
of the offeror’s proposed [s]trategic [p]erformance [p]lan,” which would be “evaluated based
[upon] the offeror’s understanding and explanation of how it w[ould] partner with the
[g]overnment to help resolve future strategic issues as identified by [Yuma] senior leadership,
support [Yuma]’s stated objectives for this acquisition[,] and bring value to the [Yuma]
mission.” AR 23-2633. The factor included four sub-factors:

       (a) Management and Organization Approach
       (b) Personnel Management Approach
       (c) Quality Control and Continuous Process Improvement Approach
       (d) Technical Expertise
       4
        These services included “10 major functional areas:” operation and maintenance of
electronic instrumentation devices; operation of optical, meteorological, and geodetic
instrumentation; operation and maintenance of environmental simulation test equipment;
computation and automation of data; operation and maintenance support for testing operations;
management of ammunition operations; performance of technical and engineering services;
operation of range management; operation of communication and information management; and
operation of data acquisition and management. AR 3a-213 to -16.


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Id. Each offeror would receive one of five technical ratings for the mission capability factor:
“Outstanding,” “Good,” “Acceptable,” “Marginal,” or “Unacceptable.” AR 23-2636 to -37. An
offeror’s rating for the mission capability factor would be based upon the offeror’s ratings for the
four sub-factors. AR 23-2634. To be eligible for the contract award, the RFP required each
offeror to achieve a minimum rating of “Acceptable” for each sub-factor; a “Marginal” or
“Unacceptable” rating for any single sub-factor would be applied to the mission capability factor
and render the offeror ineligible. Id. Additionally, each offeror would receive a mission
capability risk rating of “Low,” “Moderate,” or “High.” AR 23-2637.

   2. The mission capability oral presentation.

       In addressing the mission capability factor, offerors would submit both “a limited written
proposal and an oral presentation.” AR 23-2620. The RFP described the format for the oral
presentation:

       Oral Presentation: Offerors shall prepare and present an oral presentation that
       addresses Mission Capability. An overhead projector, a video projector and a
       screen will be available for the offerors’ use. Offerors will have three hours to
       present their Mission Capability approach. There is no limit to the number of
       slides permitted, however presentations must be completed in the three hour
       timeframe allotted. Content on slides submitted, but not briefed in the
       presentation, will not be considered in the evaluation. . . . The successful
       offeror’s presentation video will represent the Mission Capability submission and
       will be accepted in its entirety. If offerors desire a copy of the video they must
       provide a copy of the video media specified by the [g]overnment at the time that
       the presentation is scheduled. A clarification session will be held following the
       presentation to allow the [g]overnment to clarify any areas of uncertainty that the
       [g]overnment may have in reference to the presentation. This session is not
       considered negotiations and proposal changes will not be allowed or requested
       during this session. The offeror[’]s presentation team shall not exceed six
       personnel, one of which must be the proposed on-site Program Manager. The
       Program Manager is expected to lead the presentation.

AR 23-2622. Offerors would submit oral presentation slides by separating the slides into five
general tabs, including an executive summary and information related to each of the four sub-
factors within the mission capability factor. See AR 23-2620 to -22. The RFP stated that each
offeror would address the first sub-factor (Management and Organization Approach) “in the
written proposal and presentation materials,” AR 23-2621, the second (Personnel Management
Approach) and third (Quality Control and Continuous Process Improvement Approach) sub-
factors “in the oral proposals only,” AR 23-2622, and the fourth sub-factor (Technical Expertise)
“in written format only,” id.

   3. Baseline staffing under the mission capability and cost factors.

        Under the management and organization sub-factor within mission capability, each
offeror was instructed to “provide a staffing plan that addresses the organizational structure of
the [o]fferor’s proposed team.” AR 23-2621. The RFP specified:

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       The [o]fferor shall provide a staffing matrix for first line supervisors and
       subordinate employees for each functional area. The matrix shall depict the
       number of [f]ull[-t]ime [e]quivalent[ employees] (FTEs), [and] productive hours
       by labor category, skill level, and skill type of employment for each functional
       area. . . .

Id. The Army provided historical staffing information at Yuma in Technical Exhibit 10, item 6,
which was attached to the original RFP. See AR 3b-404 to -08. This exhibit showed 1,234
historical staff under a column titled “Count of Job Title,” see id., which represented the number
of full-time equivalents needed for the baseline period of the Yuma procurement, see AR 5b-
454; AR 134-13505.5 A single full-time equivalent would represent “the productive hours
required by a single person for one year, minus non-productive hours.” AR 130-13483.6 The
RFP requested that each offeror use the historical staffing data in Technical Exhibit 10, item 6
“as a baseline (excluding management and administrative staff) for developing proposed labor
costs.” AR 23-2629. Any offeror deviating from the baseline would need to explain and justify
the divergence:

       Deviations from this baseline based on the offeror’s unique management approach
       and promised efficiencies, shall be fully explained and justified, in the Cost
       Rationale Section, keeping in mind that the [g]overnment is interested in a
       management approach that will result in continuous improvements and
       efficiencies that are expected to be reflected in the management and cost
       proposals.

Id.

                       B. The First Award and Ensuing Corrective Action

        The Army received proposals from four offerors: InDyne, Jacobs, ManTech
International, Inc., and TRAX, the incumbent contractor. AR 30-3208 to -11. Jacobs and TRAX
received the highest ratings for mission capability, with [***]. AR 30-3208. [***]. Id.
However, Jacobs’ total proposed cost of $306,527,268 was lower than TRAX’s total proposed
       5
         The 1,234 full-time equivalent historical staff only related to the baseline period of the
contract; the Army acknowledged that it could not provide “forecasted” full-time equivalent staff
for subsequent periods. See AR 5b-457. However, the Army indicated that it had provided
“historical and current staffing levels” to aid in the offerors’ labor estimates for the contract
periods beyond the baseline. Id. Technical Exhibit 10, item 4 provided an historical year-by-
year summary of staffing levels, see AR 3b-402, while Technical Exhibit 10, item 6 set out
detailed staffing information by position for the most recent year, see AR 3b-404 to -08.
       6
         A single full-time equivalent worker was assumed to be available for 2,080 hours per
year, constituting 40 hours multiplied by 52 weeks, which time was to be adjusted based upon
the offeror’s “individual management approach and efficiencies.” See AR 104-8720; AR 130-
13483. The relationship between staffing and full-time equivalents is not necessarily one to one
because, for example, the work of several part-time staff might combine to equal the work of one
full-time equivalent. See AR 130-13483.

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cost of $[***]. Id. Jacobs’ total evaluated probable cost/price of $411,678,388 was also lower
than TRAX’s total evaluated probable cost/price of $[***]. Id.

         In June 2014, before the first contract award, two procurement officials on the “Cost
Team” issued a clarification to the Source Selection Advisory Council to explain the “significant
variance in cost” between the two highest-rated offerors, Jacobs and TRAX. See AR 124-13126
to -36. The Army attributed the variance to a “[p]roblem” it found with the historical baseline
staffing data provided in Technical Exhibit 10, item 6, specifically noting that the data did not
include productive hours, average wage rates, or full-time equivalents. AR 124-13127. Thus,
when Jacobs and TRAX submitted baseline staffing proposals, they took different approaches.
Jacobs and TRAX each provided a baseline number of total labor hours that would be expended
in the base period of the contract. See AR 124-13128. Both Jacobs and TRAX also calculated
the baseline total labor hours for the first year by multiplying (1) average productive labor hours
per employee and (2) 1,234 employees, the figure provided in Technical Exhibit 10, item 6. See
id. However, for the first prong of the equation, Jacobs’ productive labor hours per employee
was [***], whereas TRAX’s productive labor hours per employee was [***]. See id. As a
result, before either offeror applied any labor efficiencies that could reduce the offeror’s
proposed hours, Jacobs proposed [***] total baseline hours and TRAX proposed [***] total
baseline hours for the base period. AR 124-13132. This baseline number affected the cost of the
proposals. See id. Additionally, Jacobs [***], AR 124-13129, and [***], AR 124-13131 to -32.
TRAX [***]. AR 124-13132.

        Despite the different approaches, the Army determined that even if TRAX and Jacobs
had proposed the same number of hours, whether through Jacobs’ or TRAX’s method, Jacobs
would still have proposed a lower cost. AR 124-13133. The Contracting Officer thus found that
Jacobs presented “the lowest priced offer of the most highly rated proposals,” AR 31-3219, and
the Source Selection Authority (“SSA”) determined that Jacobs’ proposal “provide[d] the best
overall value,” AR 30-3206. TRAX’s proposed cost was deemed “unreasonable.” AR 31-3219.
Accordingly, on September 10, 2014, the Army awarded the contract to Jacobs. AR 32-3220.

         After receiving notice of the contract award and a post-award debriefing, see AR Tabs
31, 34, TRAX timely filed a protest of the award at GAO on September 22, 2014, AR Tab 35,
and followed with supplemental protest grounds on November 3, 2014, see AR Tab 127. TRAX
raised a number of protest issues, including allegations related to organizational conflicts of
interest, unlawful discussions, the Army’s failure to evaluate proposals on a common staffing
baseline, and the Army’s flawed cost realism analysis. See generally id. Shortly thereafter, on
November 14, 2014, the Contracting Officer “determined that corrective action related to this
acquisition [was] warranted in light of TRAX’s supplemental protest grounds” and that
corrective action “would better serve the procurement process.” AR 37-3387. The Army stated
that it would “open discussions with all offerors and render a new Source Selection Decision
after evaluation of revised proposals.” Id. GAO subsequently dismissed TRAX’s protest
because the Army’s corrective action “render[ed] the protest academic.” AR 38-3388.

                     C. The Second Award and Ensuing Corrective Action

       After the Army reopened discussions, InDyne, Jacobs, and TRAX submitted revised
proposals and were given technical ratings by the Army. AR 60-5881. Jacobs and TRAX [***],
but Jacobs submitted lower costs than TRAX for total proposed cost and total evaluated probable

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cost/price. Id. As with the first award evaluation, a procurement official on the Cost Team
issued a clarification to the Source Selection Advisory Council to explain the variance in Jacobs’
and TRAX’s costs. See AR Tab 130. That clarification identified the same baseline staffing
issue related to Technical Exhibit 10, item 6, and indicated that Jacobs and TRAX had again
applied different methodologies to determine baseline staffing for the base year, resulting in a
lower baseline of labor hours for Jacobs. See AR 130-13480 to -88.7 Nonetheless, the SSA
found that Jacobs’ proposal “provide[d] the best overall value” based upon an evaluation of the
four factors described in the RFP, AR 60-5876, and the Army awarded the contract to Jacobs for
a second time on December 10, 2015, AR Tab 63.

        TRAX received notice of the contract award and a post-award debriefing, see AR Tabs
64, 66, and timely filed a protest of the award decision at GAO on December 21, 2015, AR Tab
68. TRAX’s protest included, among other grounds, an allegation that the Army failed to correct
the common-staffing baseline issue. See AR 68-6042 to -55. The parties then engaged in
outcome prediction alternative dispute resolution, where a GAO attorney reportedly stated that
GAO “would likely sustain” TRAX’s protest because the Army failed to evaluate proposals on a
common labor-hour baseline. See AR 134-13505. Subsequently, on March 17, 2016, the
Contracting Officer “determined that corrective action . . . was warranted in light of TRAX’s
protest ground that the [a]gency failed to ensure that offerors were competing against a common
baseline of requirements.” AR 70-6099. The Contracting Officer further stated:

       The corrective action will open discussions, provide all offerors the opportunity to
       submit a revised [c]ost/[p]rice proposal[,] and advise offerors to craft their
       staffing proposals against the 1,234 [full-time equivalent] [b]aseline [s]tarting
       [p]oint in [Technical Exhibit] 10, [i]tem 6. Additionally, . . . any proposed
       deviation from this baseline based on the offeror’s unique management approach
       and promised efficiencies must be fully explained and justified in the Cost
       Rationale Section. The [a]gency shall evaluate the revised cost proposals and . . .
       render a new Source Selection Decision after evaluation of proposals.

Id. As a result, GAO dismissed TRAX’s protest as academic. See Def.’s Resp. to Pl.’s Mot. for
Judgment on the Administrative Record and Def.’s Cross[-]Mot. for Judgment on the
Administrative Record (“Def.’s Cross-Mot.”) at 6, No. 16-1602C, ECF No. 47.

        In implementing the second corrective action, the Army initially issued amendments 7
and 8 to the RFP on May 12, 2016 and June 2, 2016, respectively. AR Tabs 71, 72. Those
amendments related to a collective bargaining agreement, wage determinations, and baseline
staffing data. See AR 71-6101 to -02; AR 72-6104 to -05. TRAX and Jacobs each filed pre-
award protests at GAO, challenging specific aspects of the amended RFP. See Def.’s Cross-Mot.
       7
        On April 29, 2015, after taking its first corrective action, the Army questioned whether
Jacobs’ previously-reported [***] productive hours per employee were realistic. AR 40-3394.
On May 12, 2015, Jacobs responded by stating that it had relied on a baseline of 1,234 full-time
employees and expressing its support for “the [g]overnment’s need to evaluate cost using a
common initial baseline.” AR 43-3413. Jacobs also defended its baseline-hour approach in
Volume IV of Jacobs’ final proposal revision, sent on August 10, 2015. See AR Tab 52; AR
52d.1-4705 to -06.


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at 7. The Army subsequently issued amendment 9 to the RFP on June 30, 2016, which deleted
amendments 7 and 8 in their entirety but did not affect amendments 1 through 6. AR 73-6117 to
-18. Amendment 9 addressed a new collective bargaining agreement, revised wage
determinations, and updated cost data. See AR 73-6118; AR 74a-6120. On that same day, the
Army notified Jacobs and TRAX that it was “reopening discussions with offerors in the
competitive range and requiring: 1) revised and complete cost proposals and 2) updated
O[rganizational ]C[onflict of ]I[nterest] submissions and 3) responses to E[valuation ]N[otice]s,
if any.” AR 74a-6120, AR 75a-6189. As a result, TRAX withdrew its pre-award protest and
GAO dismissed Jacobs’ pre-award protest as academic. See Def.’s Cross-Mot. at 7.

       In providing notice to Jacobs and TRAX, the Army specified:

       The [s]olicitation required offerors to provide hard copies of their oral
       presentation briefings with their initial limited written Mission Capability
       submission. Since the [performance work statement] and labor categories in
       [Technical Exhibit] 10, [i]tem 6 remain unchanged and offerors provided oral
       presentations based on [Technical Exhibit] 10[,] [i]tem 6, it is not anticipated that
       revisions to other proposal volumes (Mission Capability, Past Performance, Small
       Business Participation) are necessary. However, if an offeror chooses to submit
       revisions to another proposal volume, change-out pages shall be submitted in blue
       paper and shall contain a vertical line in the right margin annotating the specific
       paragraph/sentences revised. [Offerors] shall also: [1]) identify each item revised;
       2) provide the associated solicitation and proposal paragraphs; and 3) provide an
       explanation/rationale for the revision. . . . Proposal revisions will be evaluated in
       accordance with the evaluation criteria in the [s]olicitation and may result in
       changing current evaluation scores. This includes evaluation of oral presentations
       discussing revisions to Volume I, Mission Capability.

AR 76a-6262. Additionally, if an offeror submitted changes to its oral presentation slides, “an
oral presentation briefing [would be] required to have the slides considered.” AR 77b-6272. If
necessary, the offerors would provide their oral presentations on July 21, 2016. AR 77c-6275.

                      D. The Third Award and Ensuing Corrective Action

   1. Jacobs’ oral presentation slides.

        In accord with the Army’s second round of corrective action, Jacobs and TRAX
submitted revised proposals. AR 104-8708. Prior to submitting its proposal, however, Jacobs
stated in an e-mail to the Army, dated July 14, 2016, that it would not be revising its oral
presentation slides or requesting an oral presentation. AR 114-8933.8 On July 20, 2016, Jacobs
submitted its revised proposal, and that submission included a summary of leadership changes at
       8
        Prior to the second corrective action and third evaluation process, Jacobs had complied
with the RFP by submitting oral presentation slides and making an oral presentation. See Pl.’s
Reply in Support of its Mot. for Judgment on the Administrative Record and Opp’n to Defs.’
Cross-Mots. (“Jacobs’ Opp’n to Cross-Mots.”) at 3, No. 16-1602C, ECF No. 51. The court’s
discussion focuses, however, on events occurring during the third award process.


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the company, an updated organizational conflict of interest submission, a revised cost proposal,
and a revised staffing plan. See AR 78-6279. Jacobs stated that it “chose[] not to submit
changes to other proposal volumes as any updates [it] could make would not have a material or
significant impact on [its] proposed approach – or the execution of that approach – for
performing the [mission test support services] work.” Id. Jacobs also noted that it was no longer
working with a particular subcontracting company, [***], and that it had made “minor
change[s]” to its organization and key personnel, but concluded that such changes were “not
worthy” of submitting “change pages.” AR 78-6279 to -80.

        Notwithstanding that disclaimer, on September 23, 2016, Jacobs submitted a second
revised final proposal to reflect updates to the mission capability and small business participation
factors. AR 118-9939. Jacobs stated that such updates were “minor” and had been made “to
ensure consistency across” the factors. Id. Jacobs also provided a matrix detailing the changes,
which indicated that Jacobs altered many of its oral presentation slides. See AR 118-9939 to -40.
The changes included updates to Jacobs’ organization chart, removal of [***] from Jacobs’
contracting team, updates to key personnel, and updates to its “cost reduction metric,” among
other changes. See id.; see also AR Tab 118a.1.

   2. The Army’s evaluation of the offerors’ baseline staffing and proposals.

        After Jacobs and TRAX submitted their final proposals, [***]. AR 104-8708.9
Significantly, Jacobs again submitted a lower cost than TRAX for total evaluated probable
cost/price. AR 104-8720. As before, Jacobs proposed a lower number of baseline productive
hours for the first year of the contract. Compare AR 78b-6471 (listing Jacobs’ baseline
productive labor hours as [***]), with AR 117a-9654 (listing TRAX’s baseline productive labor
hours as [***]). Jacobs and TRAX applied overtime hours differently, with Jacobs [***], see
AR 78b-6458, and TRAX [***], see AR 117a-9654. [***]. AR 116a-8944. The SSA
acknowledged Jacobs’ and TRAX’s different approaches regarding overtime, but found that both
Jacobs and TRAX had complied with the RFP by beginning with 1,234 full-time equivalents and
then applying management approaches and efficiencies to determine baseline staffing. AR 104-
8720. The SSA further determined that Jacobs offered [***], and ultimately found that Jacobs’
proposal presented the best overall value. See id. On October 28, 2016, the Army awarded the
contract to Jacobs for a third time. AR 108-8782.

   3. The Army’s third corrective action.

        TRAX received notice of the third award, AR Tab 107, and timely filed a protest of the
award decision at GAO on October 31, 2016, AR Tab 111.10 TRAX supported its protest by
alleging that Jacobs had deviated from the required staffing baseline and improperly failed to


       9
         Jacobs also received a “[***]” rating for the past performance factor and a “[***]” rating
for the small business participation factor, whereas TRAX received ratings of “[***]” and “[***]”
for those two factors, respectively. AR 103-8700.
       10
         TRAX received a debriefing letter from the Army, which explained the award decision
and disclosed Jacobs’ technical ratings and proposed cost/price to TRAX. AR 110-8812 to -13.


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conduct a new oral presentation, among other grounds. See AR 111-8841 to -52.11 That same
day, the Army issued a stop-work order to Jacobs pursuant to 48 C.F.R. (“FAR”) § 52.233-3,
pending resolution of TRAX’s protest. AR 112-8928. On November 15, 2016, Jacobs filed suit
in this court, alleging that the Army’s failure to override the stay of contract was “unlawful,
arbitrary, capricious, and an abuse of discretion.” Compl. ¶ 5, Jacobs Tech. Inc. v. United States,
No. 16-1513C. Shortly thereafter, on November 29, 2016, the Army announced that it was
taking corrective action to “better serve the procurement process.” AR 113-8929. Specifically,
the Army stated that it would be reevaluating the final revised proposals of Jacobs and TRAX
and making a new source selection decision. Id. The next day, the Army provided the following
rationale for its decision:

       Despite Jacobs’ representation that its oral slides would not change, Jacobs in fact
       submitted revised oral slides in its final revised proposal dated 23 September
       2016. . . . The revisions were numerous and substantive in nature. Moreover,
       Jacobs’ failure to provide a new oral presentation deprived the Army from asking
       questions during the clarification session as contemplated by the [s]olicitation.

       Importantly, the Army relied upon these un-briefed slide revisions in its technical
       evaluation of Jacobs’ proposal wherein it rated Jacobs as ‘Outstanding’ under the
       mission capability factor. Consequently, the Army’s evaluation was not in
       accordance with the [s]olicitation, as amended, and must be corrected.

       Additionally, TRAX proposed an adjusted baseline that deviated from the
       baseline in the RFP instruction – which runs the risk of another GAO sustainable
       protest issue.

AR 114-8933. GAO then dismissed TRAX’s protest as academic, AR Tab 115, and Jacobs
voluntarily dismissed its protest in this court, No. 16-1513C, ECF No. 29.

                    E. Jacobs’ and TRAX’s Competing Protests in This Court

        On December 2, 2016, Jacobs filed its present suit in this court to challenge the Army’s
third corrective action. See generally Jacobs Compl. Jacobs alleges that the Army’s decision to
take corrective action (Count I) and the overly broad scope of that corrective action (Count II)
were arbitrary and capricious. See Jacobs Compl. ¶¶ 21, 23. For relief, Jacobs seeks a
“permanent injunction enjoining the [a]gency from proceeding with” the corrective action, thus
allowing Jacobs to receive the third contract award. See Jacobs Compl. at 9.12 The court granted
       11
           TRAX also filed a supplemental protest on November 4, 2016, alleging an
organizational conflict of interest regarding the award to Jacobs. Jacobs Compl. ¶ 15.
        12
           In its complaint, Jacobs also requested that the court issue a temporary restraining order
and a preliminary injunction to prevent the Army from moving forward with the corrective
action. Jacobs Compl. at 9. At a status conference held shortly after Jacobs’ protest was filed,
Jacobs stated that it no longer needed such relief at that time because the government had agreed
not to make a contract award until March 2017. Hr’g Tr. 4:1-6 (Dec. 7, 2016), No. 16-1602C.
Accordingly, the court denied Jacobs’ application for a temporary restraining order and motion
for preliminary injunction “without prejudice to a renewal if circumstances change.” Order of
Dec. 7, 2016, No. 16-1602C, ECF No. 22.

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TRAX’s motion to intervene as a defendant-intervenor. Order of Dec. 5, 2016, No. 16-1602C,
ECF No. 12. The court also established a schedule for filing the administrative record and for
filing and briefing motions and cross-motions on the administrative record. Scheduling Order of
Dec. 7, 2016, No. 16-1602C, ECF No. 23.

        On January 18, 2017, TRAX filed suit in this court regarding the same procurement,
alleging bias in its first and only Count. See TRAX Compl. ¶¶ 66-67. TRAX alleges that Jacobs
has improperly deviated from the staffing baseline in all three of its contract proposals, TRAX
Compl. ¶¶ 2-3, and that the Army’s failure to enforce a common baseline indicates bias and has
unfairly disadvantaged TRAX, see TRAX Compl. ¶¶ 4-5. Accordingly, TRAX requests that the
court issue an injunction directing the Army to (1) appoint new, unbiased procurement officials
to perform a fresh evaluation in a fair manner that is in accord with the RFP, or (2) cancel the
solicitation, resolicit revised proposals under terms that establish fixed staffing levels for cost
evaluation, and generally “ensure a level playing field.” TRAX Compl. at 34-35. In requesting
installation of new procurement officials, TRAX requests that the Army “appoint a new
Contracting Officer, Cost/Price Analyst, S[ource ]S[election ]A[uthority], and any other
M[ission ]I[nstallation ]C[ontracting ]C[ommand] personnel who are advisors or officials” for
the Yuma procurement. TRAX Compl. at 34.13 The court granted Jacobs’ motion to intervene
in TRAX’s case as a defendant-intervenor. Order of Jan. 23, 2017, No. 17-88C, ECF No. 12.
Additionally, in accord with the parties’ requests at a status conference held on January 26, 2017,
the court set a briefing schedule for TRAX to request discovery on the allegations, for the
government and Jacobs to respond to that request, and for the government to file a motion to
dismiss. Scheduling Order of Jan. 27, 2017, No. 17-88C, ECF No. 26. The government filed the
administrative record in TRAX’s case on February 13, 2017.14

       The parties’ cross-motions for judgment on the administrative record in Jacobs have been
submitted and fully briefed and were addressed at a hearing on February 9, 2017. See Pl.’s Mot.
for Judgment on the Administrative Record and Mem. in Support (“Jacobs’ Mot.”), No. 16-
1602C, ECF No. 41; Def.’s Cross-Mot.; Def.-Intervenor TRAX’s Cross-Mot. for Judgment on
the Administrative Record and Opp’n to Pl.’s Mot. for Judgment on the Administrative Record
(“TRAX’s Cross-Mot.”), No. 16-1602C, ECF No. 48. Additionally, TRAX’s motion for
discovery, TRAX’s Mot. for Limited Disc. (“TRAX’s Mot. for Disc.”), No. 17-88C, ECF No.
27, and the government’s motion to dismiss TRAX’s complaint for lack of jurisdiction pursuant
to RCFC 12(b)(1), Def.’s Mot. to Dismiss and Resp. to Pl.’s Mot. for Disc. (“Def.’s Mot. to
Dismiss”), No. 17-88C, ECF No. 34, have been briefed and were addressed at a hearing on
February 24, 2017.




       13
        The Army Mission and Installation Contracting Command is managing the Yuma
procurement at issue. TRAX Compl. ¶ 1.
       14
         The administrative record in TRAX contains every tab and page that is included in the
corrected administrative record in Jacobs, which was filed on December 19, 2016 and amended
on January 3, 2017, plus an additional eighteen tabs related to the procurement. See supra, at 3
n.3.

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                                         JURISDICTION

                                  A. Subject-Matter Jurisdiction

        As amended, the Tucker Act provides this court with jurisdiction to “render judgment on
an action by an interested party objecting to a solicitation by a Federal agency for bids or
proposals for a proposed contract or to a proposed award or the award of a contract or any
alleged violation of statute or regulation in connection with a procurement or a proposed
procurement.” 28 U.S.C. § 1491(b)(1), added by the Administrative Dispute Resolution Act,
Pub. L. No. 104-320, § 12, 110 Stat. 3870, 3874 (1996); see also Systems Application & Techs.,
Inc. v. United States, 691 F.3d 1374, 1380-81 (Fed. Cir. 2012). The court accordingly has
jurisdiction over three types of bid protests: (1) a pre-award protest, (2) a post-award protest, and
(3) “any alleged violation of statute or regulation in connection with a procurement or a proposed
procurement.” 28 U.S.C. § 1491(b)(1); see also OTI Am., Inc. v. United States, 68 Fed. Cl. 108,
113 (2005) (describing and ruling on the parameters of 28 U.S.C. § 1491(b)).

        A challenge to a procuring agency’s corrective action can be characterized either as a pre-
award protest, see, e.g., Ceres Gulf, Inc. v. United States, 94 Fed. Cl. 303, 315-16 (2010)
(discussing cases related to corrective action protests and concluding that plaintiff’s challenge to
the Army’s corrective action “amount[ed] to an objection to the Army’s pre-award conduct”)
(citations omitted), or as a claim of an “alleged violation of statute or regulation in connection
with a procurement or a proposed procurement,” e.g., Systems Application & Techs., 691 F.3d at
1381 (noting that “section 1491(b)(1) provides a broad grant of jurisdiction because
‘[p]rocurement includes all stages of the process of acquiring property or services, beginning
with the process for determining a need for property or services and ending with contract
completion and closeout”’) (quoting Resource Conservation Grp., LLC v. United States, 597
F.3d 1238, 1244 (Fed. Cir. 2010) (in turn quoting what is now 41 U.S.C. § 111)). By whichever
of those jurisdictional pathways, the court’s bid protest jurisdiction includes the review of a
procuring agency’s decision to take corrective action. See, e.g., Chapman Law Firm Co. v.
Greenleaf Constr. Co., 490 F.3d 934, 938 (Fed. Cir. 2007) (finding that the court’s “inquiry into
the reasonableness of the [g]overnment’s first proposed corrective action, and the court’s
subsequent determination that the proposed corrective action was not reasonable, were proper”);
Innovative Test Asset Sols. LLC v. United States, 125 Fed. Cl. 201, 215 (2016) (finding that the
court had jurisdiction to review the reasonableness of the procuring agency’s corrective action)
(citations omitted); Centech Grp., Inc. v. United States, 79 Fed. Cl. 562, 574 (2007) (“The Court
of Federal Claims possesses jurisdiction to determine if a corrective action taken by an agency in
response to a bid protest was reasonable under the circumstances.”) (citing Chapman, 490 F.3d
at 938), aff’d, 554 F.3d 1029 (Fed. Cir. 2009). The court has jurisdiction over corrective action
protests “even when such action is not fully implemented.” Systems Application & Techs., 691
F.3d at 1381 (relying for jurisdiction on the so-called “third prong” of Section 1491(b), quoted
supra). Additionally, whether the protester raising the challenge was the former contract
awardee is not “material to the question of jurisdiction.” Id.

        Here, Jacobs challenges the Army’s decision to take corrective action and the scope of
that corrective action, alleging that both were arbitrary and capricious. See Jacobs’ Mot. at 15-
26. These claims directly address the Army’s most recent corrective action announcement from
November 2016, see AR 113-8929; AR 114-8933, and thus fall within the court’s jurisdiction.
The government does not dispute the court’s jurisdiction over Jacobs’ claims. See generally

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Def.’s Cross-Mot. The government does, however, contend that the court lacks jurisdiction over
TRAX’s claim because TRAX is “not objecting to a solicitation, a proposed award, an award of
a contract, or an alleged violation of a statute or regulation.” Def.’s Mot. to Dismiss at 4-5. In
making this argument, the government incorrectly interprets TRAX’s complaint as challenging
either the Army’s previous third award to Jacobs or the Army’s future fourth award for the Yuma
contract. See id. That is not what TRAX is arguing. Rather than protesting a past or future
award, TRAX specifically challenges the “the nature and scope of the Army’s corrective action.”
TRAX’s Opp’n to Def.’s Mot. to Dismiss the TRAX Compl. and Reply in Support of TRAX’s
Mot. for Limited Disc. (“TRAX’s Opp’n and Reply”) at 7, No. 17-88C, ECF No. 36. Because
the Army’s procurement officials are allegedly biased against TRAX or in favor of Jacobs,
TRAX alleges that the Army’s most recent corrective action is not sufficiently broad and
requests that the court take further steps to ensure a fair competition. See id.; TRAX Compl. ¶ 6.
Thus, while Jacobs argues that the Army’s corrective action announcement was too broad and
TRAX asserts that it was not broad enough, both Jacobs and TRAX bring claims directed to that
corrective action. The court therefore has jurisdiction over TRAX’s claim as well.

        The court emphasizes that the third prong of this court’s bid protest jurisdiction provides
jurisdiction over “any alleged violation of statute or regulation in connection with a procurement
or a proposed procurement.” See 28 U.S.C. § 1491(b)(1). The Federal Circuit has stated that
this provision is “very sweeping in scope,” explaining that “[a]s long as a statute [or regulation]
has a connection to a procurement proposal, an alleged violation suffices to supply jurisdiction.”
RAMCOR Servs. Grp., Inc. v. United States, 185 F.3d 1286, 1289 (Fed. Cir. 1999). Here, TRAX
alleges that the Army’s conduct demonstrates bias and is in violation of Federal Acquisition
Regulations, FAR §§ 3.101-1 and 1.602-2(b). See TRAX’s Opp’n and Reply at 8-9; see also
FAR § 3.101-1 (“Government business shall be conducted in a manner above reproach and,
except as authorized by statute or regulation, with complete impartiality and with preferential
treatment for none.”); FAR § 1.602-2(b) (requiring contracting officers to “[e]nsure that
contractors receive impartial, fair, and equitable treatment”). According to TRAX, these
regulations are connected to the procurement at issue because the Army’s alleged bias has
existed throughout the award process for the Yuma contract and has rendered the scope of the
Army’s present corrective action unreasonably narrow. See TRAX’s Opp’n and Reply at 7-9.
TRAX has thus sufficiently alleged that the Army violated applicable regulations in connection
with the Yuma procurement.

                                           B. Standing

         To have standing in a bid protest, the party bringing suit must be an “interested party.”
See 28 U.S.C. § 1491(b)(1); Systems Application & Techs., 691 F.3d at 1382. A protester will be
an interested party if it can show that “(1) it was an actual or prospective bidder or offeror, and
(2) it had a direct economic interest in the procurement or proposed procurement.” Distributed
Sols., Inc. v. United States, 539 F.3d 1340, 1344 (Fed. Cir. 2008) (citing Rex Serv. Corp. v.
United States, 448 F.3d 1305, 1307 (Fed. Cir. 2006)). To prove direct economic interest in a
pre-award protest, the protester must demonstrate “a non-trivial competitive injury which can be
addressed by judicial relief.” Systems Application & Techs., 691 F.3d at 1382 (quoting Weeks
Marine, Inc. v. United States, 575 F.3d 1352, 1362 (Fed. Cir. 2009)).

       The government does not dispute Jacobs’ standing, see generally Def.’s Cross-Mot.,
although TRAX does, see TRAX’s Cross-Mot. at 19. Here, both Jacobs and TRAX were

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offerors in the government’s most recent procurement for the Yuma contract. AR 104-8708. As
the former awardee of the contract, Jacobs has a direct economic interest in the Army’s decision
to take corrective action and make a new source selection decision. Jacobs has suffered a “non-
trivial competitive injury” because it will have to compete for, and await, a new award decision
from the Army after reevaluation of proposals, which may or may not result in an award to
Jacobs. See Sheridan Corp. v. United States, 95 Fed. Cl. 141, 149 (2010) (finding that “it is
difficult to imagine a party that is more economically interested than [plaintiff] who, having been
selected and awarded the contract, would have to wait to receive the [g]overnment’s new
decision following the resolicitation of proposals”).15 Although the court has typically found
standing in the context of a corrective action calling for a resolicitation of proposals, see, e.g.,
id.; Delaney Constr. Corp. v. United States, 56 Fed. Cl. 470, 474 (2003), the reasoning behind
such decisions applies to the reevaluation here as well because the Army will be considering
Jacobs’ and TRAX’s proposals in a new light, due to the identified problems related to the oral
presentation slides and the staffing baseline.16

       Insofar as standing is concerned, TRAX’s position has some parallels to that of Jacobs.
TRAX was next in line to receive the contract and received [***] for the non-cost factors. See
AR 103-8700. TRAX argues that Jacobs’ lower cost proposal, as well as Jacobs’ third award,
can be attributed to Jacobs’ staffing baseline, which the Army allegedly should not have allowed.
See TRAX Mot. for Disc. at 10 & n.7. TRAX has thus sufficiently alleged a “non-trivial
competitive injury” and it has a direct economic interest in the Army’s corrective action. See
Delaney Constr., 56 Fed. Cl. at 474 (“With respect to the proposed corrective action, plaintiff is

       15
           In arguing that Jacobs lacks standing, TRAX asserts that Jacobs’ reliance on Sheridan is
inappropriate insofar as Jacobs argues that it “is harmed by having to recompete for the award
after its price has been revealed.” TRAX’s Cross-Mot. at 19-20. TRAX notes that the corrective
action in Sheridan involved a resolicitation, 95 Fed. Cl. at 154, whereas the corrective action
here only contemplates a reevaluation, AR 113-8929. TRAX quotes a specific passage from
Sheridan, which states that under the circumstances of that case, “a reevaluation of the proposals
may be warranted, but a resolicitation of the proposals compromises the integrity of the
procurement system, especially where the winning price has been disclosed to the public.”
TRAX’s Cross-Mot. at 20 n.15 (quoting Sheridan, 95 Fed. Cl. at 154). TRAX’s argument passes
over standing and essentially addresses the merits of Jacobs’ claims. Sheridan is relevant to
standing not for its discussion of price disclosure, but rather for the holding that a former
contract awardee suffers a non-trivial competitive injury when it is subjected to a reevaluation
and forced to compete for a contract a second time, or in this case a fourth time. Notably, the
court in Sheridan did not address reevaluation in determining that the protester had standing; the
court distinguished reevaluation and resolicitation in discussing the merits of whether the
corrective action was unlawful, not in the court’s standing analysis. See Sheridan, 95 Fed. Cl. at
147-49, 151-54.
       16
          TRAX argues that “if, as Jacobs claims, corrective action tied to the identified error
[regarding the revised oral presentation slides] would not ultimately impact Jacobs’ evaluation
standing in any material way, then admittedly Jacobs suffers no competitive harm from the
corrective action.” TRAX’s Cross-Mot. at 19. TRAX’s argument is unpersuasive. Jacobs
claims that the Army’s decision to take corrective action would “arbitrarily require [Jacobs] to
win the same award [for a fourth time].” See Systems Application & Techs., 691 F.3d at 1382
(citation omitted). Such a posture connotes a non-trivial competitive injury. See id. at 1382-83.

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a prospective offeror whose direct economic interest would be affected by the new award of the
contract which would occur on the basis of the corrective action at issue.”) (citing IMS Servs.,
Inc. v. United States, 32 Fed. Cl. 388 (1994)). In sum, both Jacobs and TRAX have standing to
pursue their protests.

                                            C. Ripeness

        The government next argues that TRAX’s claim is not ripe for review. See Def.’s Mot.
to Dismiss at 6-10. The purpose of the ripeness doctrine is to “prevent the courts, through
avoidance of premature adjudication, from entangling themselves in abstract disagreements over
administrative policies, and also to protect the agencies from judicial interference.” Abbott Labs.
v. Gardner, 387 U.S. 136, 148 (1967), abrogated on other grounds by Califano v. Sanders, 430
U.S. 99 (1977). An unripe claim is dismissed without prejudice. Pernix Grp., Inc. v. United
States, 121 Fed. Cl. 592, 599 (2015) (citing Shinnecock Indian Nation v. United States, 782 F.3d
1345, 1350 (Fed. Cir. 2015)). The court determines whether an action is ripe by evaluating (1)
“the fitness of the issues for judicial decision,” and (2) “the hardship to the parties of withholding
court consideration.” Caraco Pharm. Labs., Ltd. v. Forest Labs., Inc., 527 F.3d 1278, 1294-95
(Fed. Cir. 2008) (citing Abbott Labs., 387 U.S. at 149).

        First, with respect to fitness for judicial review, the court must determine “whether the
challenged conduct constitutes a final agency action.” Systems Application & Techs., 691 F.3d at
1384 (citations omitted). To be considered final, the agency action must: (1) “mark the
‘consummation’ of the agency’s decisionmaking process–it must not be of a merely tentative or
interlocutory nature,” and (2) “be one by which ‘rights or obligations have been determined,’ or
from which ‘legal consequences will flow.’” Id. (quoting Bennett v. Spear, 520 U.S. 154, 177-78
(1997)). Second, with respect to hardship, the court must consider whether withholding court
consideration would have an “immediate and substantial impact” on the plaintiff. Caraco
Pharm. Labs., 527 F.3d at 1295 (quoting Gardner v. Toilet Goods Ass’n, 387 U.S. 167, 171
(1967)). The mere possibility of harm is insufficient. See Pernix Grp., 121 Fed. Cl. at 599
(“Abstract, avoidable or speculative harm is not enough to satisfy the hardship prong.”) (citing
Texas v. United States, 523 U.S. 296, 301-02 (1998)). Nonetheless, the hardship prong requires
a lesser showing compared to the showing required for obtaining injunctive relief, where a
plaintiff must demonstrate irreparable harm. See Systems Application & Techs., 691 F.3d at
1385.

        Regarding fitness for judicial review, the government asserts that TRAX’s claim is not
ripe because the Army’s “decision to take corrective action is not a final decision.” Def.’s Mot.
to Dismiss at 8. The government states that “[u]ntil the agency takes final action, e.g., makes an
award under the reprocurement or cancels the reprocurement, the agency has not consummated
its decision-making process.” Id. Before that occurs, the Army could cancel the procurement or
change the corrective action. Id. Further, according to the government, TRAX’s rights and
obligations will only be determined by the Army’s final award decision. Id. The government’s
argument is not consistent with Federal Circuit precedent. In Systems Application & Techs., the
government presented an argument to the Federal Circuit that is similar to its argument before
this court:

       According to the Army, its statements . . . that it intended to engage in corrective
       action were not binding and nothing prohibited the Army from abandoning its

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       proposed course of action and allowing [plaintiff’s] award to stand. . . . In its
       view, the decision to take corrective action will not be fully consummated unless
       and until the Army re-awards the contract to an offeror other than [plaintiff, the
       former contract awardee challenging the corrective action].

691 F.3d at 1384 (internal citations and quotation marks omitted). The court of appeals rejected
the government’s argument because, among other reasons, “[t]he Army memorialized its
decision to take corrective action in a letter to the GAO and the parties, stating: the Army has
determined that it is in its best interest to take corrective action.” Id. (internal citations and
quotation marks omitted). The Army’s corrective action announcement also resulted in
“irretrievable legal consequences,” including GAO’s dismissal of an award protest regarding the
procurement. Id. The Army’s decision to take corrective action was thus considered final. Id. at
1385.

        Here, similarly, the Army announced its decision to take corrective action, stating that it
would be reevaluating the offerors’ final revised proposals and making a new source selection
decision. AR 113-8929. The Army accompanied that decision with a memorandum explaining
the basis for the action. AR Tab 114. Such a decision was final and had direct legal
consequences, including the rescission of Jacobs’ award and GAO’s dismissal of TRAX’s
protest. See AR Tab 115. The fact that the Army could change course in the future by, for
example, amending or canceling the solicitation, does not render TRAX’s claim unripe. See
Jacobs Tech. Inc. v. United States, 100 Fed. Cl. 179, 182 (2011) (“The mere fact that an agency
may always amend the [RFP] cannot render pre-award bid protests unripe.”). TRAX is not
protesting the fourth award that the Army has not yet provided, but is instead challenging the
scope of the Army’s present corrective action. See Sheridan, 95 Fed. Cl. at 150 (holding that
plaintiff’s corrective action protest was fit for judicial review because plaintiff was “not
challenging the results of the corrective action,” but was rather “challenging the implementation
of the corrective action itself”). The Army’s decision to take corrective action and the scope of
that corrective action are final decisions that are fit for judicial review.

         Additionally, TRAX has demonstrated sufficient hardship. The Federal Circuit has held
“that a party who has the opportunity to object to the terms of a government solicitation
containing a patent error and fails to do so prior to the close of the bidding process waives its
ability to raise the same objection subsequently in a bid protest action in the Court of Federal
Claims.” Blue & Gold Fleet, L.P. v. United States, 492 F.3d 1308, 1313 (Fed. Cir. 2007); see
also CRAssociates, Inc. v. United States, 102 Fed. Cl. 698, 713 (2011) (“[B]y holding its fire
until after the contract was awarded to its competitor, [plaintiff] waived its opportunity to raise
issues concerning [the awardee’s] prior performance of the enjoined contract.”), aff’d, 475 Fed.
Appx. 341 (Fed. Cir. 2012). Thus, if the court withholds review of TRAX’s bias claim regarding
the Army’s corrective action, TRAX’s claim will be rendered untimely after the fourth award is
made and there would be no judicial review of TRAX’s present claim. While the government
correctly notes that TRAX could ultimately receive the fourth award, Def.’s Mot. to Dismiss at
8-9, this court has previously found that the potential waiver of a protester’s claim presents
sufficient hardship to warrant judicial review, see Centech Grp., 78 Fed. Cl. at 506 (finding
hardship where plaintiff challenged agency corrective action because “refusing to address
[p]laintiff’s pre[-]award protest . . . would be tantamount to denying judicial review”); Sheridan
Corp., 95 Fed. Cl. at 150 (holding that plaintiff’s corrective action protest claim was ripe
because, among other reasons, plaintiff could not later raise such a claim).

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        The government nonetheless responds that TRAX would in actuality have an opportunity
to protest the fourth award decision if it wishes to do so, see Def.’s Mot. to Dismiss at 9,
specifically relying on Square One Armoring Serv., Inc. v. United States, 123 Fed. Cl. 309
(2015). There, the court stated:

       If at the conclusion of the re-procurement process, the record establishes that [the
       government] did not properly carry out the corrective action, [plaintiff] will have
       the opportunity to challenge the new award decision. . . . Thus, plaintiff’s
       anticipated claims regarding the implementation or execution of [the
       government’s] proposed corrective action are not yet ripe for review.

Id. at 329-30 (internal citations and quotations marks omitted). The government’s reliance on
Square One, however, is misplaced. The claims in Square One were directed to the execution of,
rather than the scope, of the corrective action. See id. at 329 (“[A]ny allegation that
[government] officials will not act in good faith in executing the corrective action, which
includes re-procuring the requirement, raises purely hypothetical arguments. . . .”) (emphasis
added) (internal quotation marks and citations omitted); id. at 330 (“‘[C]hallenges to the outcome
of th[e] [corrective] action at this time are . . . not fit for judicial review.’”) (emphasis added)
(quoting Eskridge Research Corp. v. United States, 92 Fed. Cl. 88, 95 (2010)). In contrast,
TRAX is not challenging the Army’s execution of the corrective action or the fourth Yuma
contract not yet awarded. Instead, TRAX is challenging the scope of the Army’s corrective
action itself, arguing that it is not broad enough to address the Army’s alleged bias. See TRAX’s
Opp’n and Reply at 7; TRAX Compl. ¶ 6. The announced scope of the corrective action is a
final decision by the Army that is fit for judicial review, and withholding such review would
otherwise prevent TRAX from raising the claim after the fourth award. TRAX’s claim is
therefore ripe for review.

        Jacobs’ claims, which are directed to the Army’s decision to take corrective action and
the scope of the present corrective action, see Jacobs’ Mot. at 15-26, are ripe for the same
reasons. TRAX responds in its cross-motion for judgment on the administrative record that
Jacobs’ claims are not ripe for judicial review “because the Army has not finalized a decision
about the precise scope of the corrective action that it intends to take.” TRAX’s Cross-Mot. at
20-21. TRAX’s contention is nearly identical to the argument presented by the government in its
motion to dismiss TRAX’s complaint, which this court has rejected, as discussed supra. Jacobs’
challenges to both the decision to take corrective action and the current scope of that action are
thus ripe for review.

         One aspect of Jacobs’ challenge and TRAX’s response deserves further attention,
however. In asserting that the corrective action is overly broad, Jacobs also relies on the
possibility that the Army could reopen discussions and resolicit final proposals. See Jacobs’
Mot. at 25-26; AR 114-8933 (“After the Army reevaluates proposals in accordance with the
[s]olicitation, as amended, it will determine whether it will exercise its discretion to re-open
discussions.”). This argument is not ripe. The corrective action only contemplates reevaluation
at this time. AR 114-8933. The Army’s later execution of the correction action, resulting in a
possible resolicitation, is a future event that is not ripe for review. See Square One, 123 Fed. Cl.
at 329-30. The court has jurisdiction over both of Jacobs’ claims, but only to the extent that such
claims challenge the Army’s currently announced corrective action.

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                                            D. Mootness

        Finally, the government contends that TRAX’s “challenge to the award of the contract is
moot because the agency is cancelling the award and will reevaluate proposals.” Def.’s Mot. to
Dismiss at 6. This argument by the government wrongly assumes that TRAX is challenging the
Army’s previous contract award, rather than the corrective action, and accordingly relies on
precedents where corrective action mooted a protester’s challenge to the award itself. See SOS
Int’l LLC v. United States, 127 Fed. Cl. 576, 589 (2016) (“[A]ny challenge to the original
evaluation of proposals for the [contract] has been mooted by the Army’s decision to take
corrective action.”) (citation omitted); Dellew Corp. v. United States, 124 Fed. Cl. 429, 430-32
(2015) (finding plaintiff’s challenge to a contract award moot due to the Army’s subsequent
corrective action, but nonetheless addressing defendant-intervenor’s separate challenge to the
scope of the corrective action on the merits); Sigmatech, Inc. v. United States, 122 Fed. Cl. 674,
675-76 (2015) (holding that plaintiff’s challenge to the contract award was rendered moot by the
government’s subsequent corrective action). The cases cited by the government are not relevant
to TRAX’s dispute because, as discussed supra, TRAX is specifically challenging the scope of
the corrective action by alleging that such action is not broad enough to resolve the alleged bias
on the part of the procurement officials. See TRAX’s Opp’n and Reply at 7; TRAX Compl. ¶ 6.
As the court previously explained:

       Intervenor argues that [plaintiff] does not assert a justiciable claim because
       typically an agency’s offer to institute corrective action renders a protest moot.
       While this observation may be true in some circumstances, it does not apply here.
       In the instant case, the corrective action is itself the agency decision which is
       being challenged. While the issuance of [an amendment to the RFP] may have
       mooted the GAO protest, it does not moot the instant action.

Centech Grp., 78 Fed. Cl. at 504. Although TRAX addresses the Army’s evaluation process
over the course of the three previous Yuma contract awards, see, e.g., TRAX Compl. ¶¶ 10-63,
TRAX does so in an attempt to show that the procurement officials’ pattern of past conduct
creates a present need for a broader corrective action. TRAX’s bias claim is directed to the
Army’s corrective action, and is therefore not moot.17

                                  STANDARDS FOR DECISION

                                  A. The Army’s Corrective Action

        The court’s review of an agency’s procurement decision is governed by the
Administrative Procedure Act (“APA”), specifically 5 U.S.C. § 706. See 28 U.S.C. § 1491(b)(4)
(“In any action under this subsection, the courts shall review the agency’s decision pursuant to
the standards set forth in section 706 of title 5.”). Under this section of the APA, the court may
set aside an agency decision if the court finds the decision to be “arbitrary, capricious, an abuse
of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). The arbitrary and

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            Jacobs’ corrective action protest has not been challenged on mootness grounds.



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capricious standard is “highly deferential.” See Advanced Data Concepts, Inc. v. United States,
216 F.3d 1054, 1058 (Fed. Cir. 2000). Accordingly, the court may not “substitute its judgment
for that of the agency.” Keeton Corrs., Inc. v. United States, 59 Fed. Cl. 753, 755 (2004)
(quoting Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971), abrogated
in part by Califano v. Sanders, 430 U.S. 99, 105 (1977)), recons. denied, 60 Fed. Cl. 251 (2004).

        Notwithstanding this deferential standard, the court may set aside a procurement action if
“(1) the procurement official’s decision lacked a rational basis; or (2) the procurement procedure
involved a violation of regulation or procedure.” Impresa Construzioni Geom. Domenico Garufi
v. United States, 238 F.3d 1324, 1332 (Fed. Cir. 2001) (citations omitted). The “agency must
examine the relevant data and articulate a satisfactory explanation for its action including a
‘rational connection between the facts found and the choice made.’” Motor Vehicle Mfrs. Ass’n
v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983) (quoting Burlington Truck Lines v.
United States, 371 U.S. 156, 168 (1962)). An agency’s decision lacks a rational basis, and is
therefore arbitrary and capricious, when the agency “entirely failed to consider an important
aspect of the problem, offered an explanation for its decision that runs counter to the evidence
before the agency, or [the decision] is so implausible that it could not be ascribed to a difference
in view or the product of agency expertise.” Alabama Aircraft Indus., Inc.-Birmingham v.
United States, 586 F.3d 1372, 1375 (Fed. Cir. 2009) (quoting State Farm, 463 U.S. at 43).

        In the context of corrective action, “[a] contracting agency has broad discretion whether
to pursue corrective action during the course of a procurement.” Wildflower Int’l, Ltd. v. United
States, 105 Fed. Cl. 362, 385-86 (2012) (quoting Systems Application & Techs., Inc., v. United
States, 100 Fed. Cl. 687, 716 (2011), aff’d, 691 F.3d 1374 (Fed. Cir. 2012); Jacobs Tech. Inc. v.
United States, 100 Fed. Cl. 186, 190 (2011)). The court will uphold an agency’s decision to take
corrective action “if it is rational, reasonable, and coherent and reflects due consideration of all
relevant factors.” Systems Application & Techs., 100 Fed. Cl. at 716. If the decision was
reasonable, the court must also assess “whether the corrective action itself was ‘reasonable under
the circumstances.’” Wildflower Int’l, 105 Fed. Cl. at 389 (quoting Sheridan, 95 Fed. Cl. at 151
(in turn quoting DGS Contract Serv., Inc. v. United States, 43 Fed. Cl. 227, 238 (1999))).

        Reviewing courts have not been fully consistent in applying this reasonableness standard.
Compare Sheridan, 95 Fed. Cl. at 151 (“To be reasonable, the agency’s corrective action must be
rationally related to the defect to be corrected.”), with Sierra Nevada Corp. v. United States, 107
Fed. Cl. 735, 751 (2012) (applying a “reasonable in-the-circumstances test” and declining to use
the “targeted-action test” from Sheridan because the corrective action case before the court was
“more nuanced”).18 Here, however, the court need not choose between these differing


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         The court in Sierra Nevada explained that the Sheridan test was too restrictive for the
dispute before it:

       For example, in this case, unlike Sheridan, discussions had taken place and
       proposal revisions had been submitted, so that resolicitation as opposed to
       reevaluation would be viewed as reasonable in the circumstances. As another
       example, Amendment 0008 amended portions of the [s]olicitation that were not
       related to the alleged defects, although the Air Force was attempting by those
       amendments to avoid evaluation problems of the same nature that might reoccur

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approaches.19 For purposes of this bid protest dispute, the critical inquiry involves an
examination of the reasoning underlying the agency’s corrective action. To be reasonable, the
agency must have “examined the relevant data and articulated a coherent and reasonable
explanation for [its] decision.” WHR Grp., 115 Fed. Cl. at 396 (citing State Farm, 463 U.S. at
43; Impresa Construzioni, 238 F.3d at 1333). The agency’s decision must also be supported by
the record. Sierra Nevada, 107 Fed. Cl. at 750; Sheridan, 95 Fed. Cl. at 151 (citation omitted).

                                 B. TRAX’s Discovery Request

        The court’s review of a protest brought against a procuring agency is generally “based on
the record the agency presents to the reviewing court.” Axiom Res. Mgmt., Inc. v. United States,
564 F.3d 1374, 1379-80 (Fed. Cir. 2009) (quoting Florida Power & Light Co. v. Lorion, 470
U.S. 729, 743-44 (1985)). “The purpose of limiting review to the record actually before the
agency is to guard against courts using new evidence to convert the arbitrary and capricious
standard into effectively de novo review.” Id. at 1380 (quoting Murakami v. United States, 46
Fed. Cl. 731, 735 (2000), aff’d, 398 F.3d 1342 (Fed. Cir. 2005)). Nonetheless, to ensure
effective review, the record before the court must provide “the information upon which the
agency relied when it made its decision as well as any documentation revealing the agency’s
decision-making process.” Pitney Bowes Gov’t Sols., Inc. v. United States, 93 Fed. Cl. 327, 332
(2010) (citing Citizens to Preserve Overton Park, 401 U.S. at 420). Accordingly, the
administrative record should be supplemented only when “the omission of extra-record evidence
precludes effective judicial review.” Axiom Res. Mgmt., 564 F.3d at 1380 (quoting Murakami,
46 Fed. Cl. at 735).

        In the context of a bid protest, the court may permit discovery when “there has been a
strong showing of bad faith or improper behavior,” such that “the administrative record cannot
be trusted” absent discovery. Alabama Aircraft Indus., Inc.-Birmingham v. United States, 82
Fed. Cl. 757, 766 (2008) (internal quotation marks and citations omitted). “[A]llegations of bad
faith must be based on hard facts,” especially when the procuring agency has given a reasonable
explanation for its decision. Madison Servs., Inc. v. United States, 92 Fed. Cl. 120, 130 (2010)
(quoting International Res. Recovery, Inc. v. United States, 61 Fed. Cl. 38, 43 (2004)) (internal
quotation marks omitted). The allegations cannot “rest merely on counsel’s argument, suspicion,
or conjecture.” Pitney Bowes, 93 Fed. Cl. at 332 (citing Madison Servs., 92 Fed. Cl. at 130-31).
Because agency decisions are entitled to a presumption of regularity, discovery will not be
permitted “unless that presumption has been rebutted by record evidence suggesting that the
agency decision is arbitrary and capricious.” Alabama Aircraft Indus., 82 Fed. Cl. at 773
(quoting Impresa Construzioni, 238 F.3d at 1338) (internal quotation marks omitted).
Ultimately, to supplement the record, the protester must “1) make a threshold showing of either a
motivation for the [g]overnment employee to have acted in bad faith or of conduct that is hard to

       when the new proposals were evaluated. The reasonable in-the-circumstances test
       should apply; the targeted-action test would be too restrictive.

Sierra Nevada, 107 Fed. Cl. at 751.
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         See WHR Grp., Inc. v. United States, 115 Fed. Cl. 386, 395-97 (2014) (discussing cases
examining corrective action protests, including Sheridan and Sierra Nevada, and concluding that
“there can be no universal test as to what constitutes appropriate corrective action.”).

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explain absent bad faith, and 2) persuade the [c]ourt that discovery could lead to evidence that
would provide the level of proof sufficient to overcome the presumption of regularity and good
faith.” L-3 Commc’ns Integrated Sys., L.P. v. United States, 91 Fed. Cl. 347, 355 (2010) (citing
Beta Analytics Int’l, Inc. v. United States, 61 Fed. Cl. 223, 226 (2004)), amended in part on
recons., 98 Fed. Cl. 45 (2011).

                 C. Failure to State a Claim Upon Which Relief Can be Granted

         To state a claim upon which relief can granted under RCFC 12(b)(6), a complaint must
“contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on
its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
U.S. 544, 570 (2007)). The facts alleged must sufficiently “raise a right to relief above the
speculative level, on the assumption that all the allegations in the complaint are true (even if
doubtful in fact).” Kam-Almaz v. United States, 682 F.3d 1364, 1367-68 (Fed. Cir. 2012)
(quoting Twombly, 550 U.S. at 555). The court must accept all factual allegations in the
complaint as true and draw “all reasonable inferences in favor of the non-movant,” Sommers Oil
Co. v. United States, 241 F.3d 1375, 1378 (Fed. Cir. 2001) (internal citations omitted), but it
need not accept legal conclusions, Rack Room Shoes v. United States, 718 F.3d 1370, 1376 (Fed.
Cir. 2013) (citing Iqbal, 556 U.S. at 678).

                                            ANALYSIS

                                      I. JACOBS’ CLAIMS

        Jacobs specifically focuses on the Army’s consideration of Jacobs’ revised oral
presentation slides in challenging the Army’s decision to take corrective action and the scope of
that corrective action. See Jacobs’ Mot. at 15-23, 24-26.

                            A. The Decision to Take Corrective Action

        In deciding to take corrective action, the Army found that an error occurred when it
considered Jacobs’ revised oral presentation slides during the third evaluation process. Under
the terms of the solicitation, “[c]ontent on [oral presentation] slides submitted, but not briefed in
the [oral] presentation, [would] not be considered in the evaluation.” AR 23-2622. The Army
restated this requirement before the submission of proposals for the third award, noting that if an
offeror revised its oral presentation slides, “an oral presentation briefing [would be] required to
have the slides considered.” AR 77b-6272. If necessary, that oral presentation was to take place
on July 21, 2016. AR 77c-6275. Jacobs submitted its proposal on July 20, 2016 for the third
award without making a new oral presentation during the third evaluation process, see AR 78-
6279; AR 114-8933, but then changed many of its oral presentation slides in its revised proposal
submitted on September 23, 2016, see AR 118-9939 to -40. The Army cited Jacobs’ submission
of revised oral presentation slides without a new presentation as one of the Army’s bases for
corrective action, explaining that “the Army relied upon these un-briefed slide revisions” when
evaluating Jacobs’ mission capability approach, which was in violation of the solicitation. AR
114-8933.

       Jacobs acknowledges that it erred by submitting revised slides, which were considered by
the Army, but not then making a new oral presentation. Hr’g Tr. 14:14-19 (Feb. 9, 2017), No.

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16-1602C.20 Jacobs also accepts the Army’s assessment that the revisions were “numerous.”
See Hr’g Tr. 14:20-21; AR 114-8933.21 Nonetheless, Jacobs argues that the Army’s decision to
take corrective action was unwarranted because the Army’s consideration of the revised slides
did not affect the evaluation of Jacobs’ proposal or the outcome of the third award process, and
therefore the error was “not prejudicial.” Jacobs’ Mot. at 15-23. Jacobs supports its claim by
asserting that the changes to the slides were administrative and unrelated to its mission capability
approach, nearly all of the changes appeared elsewhere in its proposal, and it received identical
ratings for mission capability before and after submission of the revised slides. See id. at 15-16,
19-20; Jacobs’ Opp’n to Cross-Mots. at 9.

         Jacobs points to the general precept that to prevail in a bid protest, “[a] protester must
show not simply a significant error in the procurement process, but also that the error was
prejudicial.” Statistica, Inc. v. Christopher, 102 F.3d 1577, 1581 (Fed. Cir. 1996) (citation
omitted); see also Jacobs’ Mot. at 21. Under this maxim, a bid protester must show that an
alleged error by the procuring agency prejudiced the protester; the rule does not, on the other
hand, stand for the proposition that an agency can rationally act in a procurement to institute
corrective action only when there is an error coupled with a showing of prejudice to an offeror.
See MSC Indus. Direct Co. v. United States, 126 Fed. Cl. 525, 533 n.5 (2016) (“The
considerations brought to bear when it is the agency’s own procurement needs that prompt
corrective action are fundamentally different from a situation in which a competitor alleges that
corrective action is warranted by potential prejudice to it.”). Jacobs seeks to place a burden of
demonstrating prejudice on the agency, asserting that “corrective action must be based on a
prejudicial error.” Jacobs’ Mot. at 21. However, Jacobs’ attempt to impose a prejudice
requirement on the Army’s decision to take corrective action is unsupported by any precedent in
the Federal Circuit or this court. Instead, it is inconsistent with prior case law addressing
corrective action. See Wildflower Int’l, 105 Fed. Cl. at 389 n.18 (addressing a corrective action
protest and noting that “whether [an offeror] was specifically prejudiced by the ambiguity [in the
solicitation] is not dispositive”); Jacobs, 100 Fed. Cl. at 197 (“[E]ven if GAO denied the protest
(e.g., for lack of prejudice), the agency could still decide to take corrective action.”).

       Jacobs supports its proffered “prejudicial error” rule by relying on a GAO decision,
Security Consultants Grp., Inc., B-293344.2, 2004 WL 691223 (Comp. Gen. Mar. 19, 2004),
recons. granted in part and denied in part, B-293344.6, 2004 WL 2480957 (Comp. Gen. Nov. 4,
2004). In that decision, GAO stated:

       Where the corrective action taken by an agency is otherwise unobjectionable, a
       request for revised price proposals is not improper merely because the awardee’s
       price has been exposed. . . . We have recognized a limited exception to that rule
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        The date will be omitted from subsequent citations to the transcript of the hearing held
on February 9, 2017 in Jacobs, No. 16-1602C.
       21
          Prior to the hearing, Jacobs stated in its brief that it “was not required to submit revised
oral presentation slides.” Jacobs’ Opp’n to Cross-Mots. at 3. Although Jacobs is correct, this
fact alone is not helpful to Jacobs’ claims. Because Jacobs chose to submit changes to its slides,
such changes could only be considered by the Army if Jacobs made a new oral presentation. See
AR 77b-6272. The Army’s evaluation of Jacobs’ revised slides without a new presentation was
therefore not in compliance with the solicitation.

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       where the record establishes that there was no impropriety in the original
       evaluation and award, or that an actual impropriety did not result in any prejudice
       to offerors[. In that circumstance,] reopening the competition after prices have
       been disclosed does not provide any benefit to the procurement system that would
       justify compromising the offerors’ competitive positions.

Security Consultants Grp., 2004 WL 691223, at *2 (citations omitted). Jacobs’ reliance on
Security Consultants is unavailing. The basis for the decision in Security Consultants is
distinguishable from the protest before this court. In Security Consultants, GAO determined that
if an error in the solicitation did not prejudice the offerors and prices had been disclosed, the
agency’s reopening of the competition would not be warranted. 2004 WL 691223, at *2. Here,
however, the Army is currently only reevaluating proposals and has not reopened discussions.
See AR 114-8933. Accordingly, GAO’s concern that price disclosure would “compromis[e] the
offerors’ competitive positions,” 2004 WL 691223, at *2, is not applicable in this dispute.22

        Even if the Army had reopened the competition, the commentary in Security Consultants
only applies when prices had been disclosed and there was no impropriety in the evaluation and
award process, or when the impropriety occurred but did not prejudice the offerors. 2004 WL
691223, at *2. Here, an error occurred when the Army considered Jacobs’ revised slides. AR
114-8933. And to the extent that prejudice is relevant, the court rejects Jacobs’ assertion that no
prejudice occurred from the submission of Jacobs’ revised, but un-briefed, slides. As the Army
explained, Jacobs’ revisions were “numerous and substantive,” and “Jacobs’ failure to provide a
new oral presentation deprived the Army from asking questions during the clarification session.”
AR 114-8933. Jacobs’ revised slides included changes to its organization chart, contracting
team, key personnel, and cost reduction metric, among other changes. See AR 118-9939 to -40.
These changes specifically related to the mission capability requirements set forth in the RFP,
see, e.g., AR 3-189 (requiring offerors to address “the expertise of each proposed team member
and/or subcontractor” under the technical risk sub-factor of mission capability), and thus
substantively affected Jacobs’ mission capability approach.23 Jacobs’ supporting contention that
no prejudice occurred because it received the highest possible ratings for mission capability both
before, AR 93-8548, and after it submitted revised slides, AR 104-8708; see Jacobs’ Mot. at 19-
20, is based on unjustified assumptions and inferences. The extent to which the revised slides
benefitted Jacobs’ evaluation is not evident from the administrative record. What is apparent
from the record is that the Army had questions about the topics Jacobs covered in its revised

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          Jacobs’ price has been disclosed to TRAX, see AR 110-8812, but this fact alone does
not render the Army’s corrective action unlawful, see Wildflower Int’l, 105 Fed. Cl. at 391
(“[B]ecause [the agency’s] disclosure of [the protester’s] price information was lawful and the
offerors knew or should have known that the price of the winning bid would be revealed, and
because the corrective action was reasonably calculated to cure the defect in the solicitation, it
was proper for [the agency] to implement the corrective action despite the fact that other offerors
knew [the protester’s] winning price.”) (citation omitted).
       23
        Jacobs points to a memorandum prepared by a Contract Specialist in October 2016,
which characterized the changes to the slides as “administrative.” See Jacobs’ Mot. at 16 (citing
AR 106-8754). This memorandum was in effect superseded by the Contracting Officer’s
subsequent determination.


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proposal submitted after the time for oral presentations had passed. On August 30, 2016 and
September 6, 2016, the Contracting Officer issued Evaluation Notices (“ENs”) to Jacobs asking
it to identify who would perform certain work due to the deletion of a subcontractor from its
previously proposed team. AR 84-8447 to -49; AR 88-8477. Jacobs responded to the ENs on
September 8, 2016, stating that it was updating its “Staffing Plan, Past Performance proposal,
Small Business Participation Plan, and Cost Volume.” AR 116-8937. Several weeks thereafter,
on September 23, 2016, Jacobs submitted its final proposal revision and its revised slides. See
AR Tab 118. On the same day, TRAX submitted its final proposal revisions. AR Tab 119.
Based on this timing, TRAX claims that Jacobs received an unfair advantage. See TRAX’s
Reply in Support of its Cross-Mot. for Judgment on the Administrative Record (“TRAX’s Reply
in Support of Cross-Mot.”) at 15, No. 16-1602C, ECF No. 54, and the government makes a
similar, albeit more cryptic, contention, see Def.’s Reply to Pl.’s Resp. and Reply to Def.’s
Cross[-]Mot. for Judgment on the Administrative Record (“Def.’s Reply in Support of Cross-
Mot.”) at 2, No. 16-1602C, ECF No. 53. In these circumstances, it is apparent that the Army’s
procurement officials had at least some questions about Jacobs’ final revised proposal. These
questions may have been answered by Jacobs’ responses to the ENs and by revisions to Jacobs’
slides, but an oral interchange and interlocution may have served a clarifying purpose, as the
solicitation contemplated. The court has no basis in the record to discount that possibility or the
Army’s decision to take corrective action on that ground. Thus, for the reasons stated, the
Army’s decision to take corrective action was reasonable.24

                        B. The Designated Scope of the Corrective Action

        The scope of the corrective action designated by the Army focuses on a reevaluation of
Jacobs’ and TRAX’s proposals and a new source selection decision. AR 114-8933. Jacobs
claims that this corrective action is flawed because it is “not targeted to any procurement defect”
identified by the Army in its memorandum explaining the decision to take corrective action,
Jacobs’ Mot. at 24-25, but that contention ignores the Army’s explanation that it had improperly
relied on Jacobs’ revised oral presentation slides, which were submitted but never presented,
when evaluating Jacobs’ proposal, AR 114-8933. Contrary to Jacobs’ position, a reevaluation
specifically addresses this error because a subsequent evaluation in accord with the terms of the
solicitation will ensure that Jacobs and TRAX are evaluated based upon oral presentation slides
that have been briefed to the Army at an oral presentation. The corrective action is rationally
related to the defect that the Army identified and is thus not overly broad. Notably, the Army’s
proposed reevaluation is narrower than an alternative course of action, resolicitation of
proposals. Jacobs’ primary concern with the scope of the corrective action appears to be the
possibility of the Army pursuing this alternative course and reopening discussions, see Jacobs’


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         The Army also identified a problem regarding TRAX’s staffing baseline in its
corrective action memorandum, AR 114-8933, but the court need not address this issue in
resolving Jacobs’ claims.

        TRAX raises other grounds to justify the Army’s corrective action, including issues
related to an alleged organizational conflict of interest on Jacobs’ part, Jacobs’ staffing plan, and
the Army’s cost-technical trade-off analysis. See TRAX’s Cross-Mot. at 30-39. TRAX’s
additional proffered bases were not adopted by the Army and thus will not be considered by the
court.

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Mot. at 25-26; AR 114-8933, but as addressed supra, that concern is not ripe for review because
the Army has not taken such action.

        In sum, the Army identified an error in the procurement after it considered Jacobs’
revised oral presentation slides without hearing a new oral presentation, and it sufficiently
explained why corrective action was necessary. The Army’s corrective action also is reasonably
tailored to address that error. Thus, the Army’s decision to take corrective action and the scope
of that corrective action were reasonable under the circumstances.

                                      II. TRAX’S CLAIM

        In presenting its motion for discovery, TRAX claims that discovery is warranted “to
further develop the record” regarding the Army’s alleged bias against TRAX or in favor of
Jacobs. TRAX’s Mot. for Disc. at 13. TRAX seeks to depose five specific Army personnel
“who have been directly involved in the evaluations and award decisions . . . and will likely be
involved in continuing evaluations in this procurement.” Id. at 13-15. TRAX also requests that
the Army produce specific documents and materials that, according to TRAX, are related to the
staffing baseline for this procurement and the Army’s alleged bias. Id. at 15-16.

        A bid protester seeking discovery must “1) make a threshold showing of either a
motivation for the [g]overnment employee to have acted in bad faith or of conduct that is hard to
explain absent bad faith, and 2) persuade the [c]ourt that discovery could lead to evidence that
would provide the level of proof sufficient to overcome the presumption of regularity and good
faith.” L-3 Commc’ns, 91 Fed. Cl. at 355 (citation omitted); see supra, at 21-22. The protester
must assert a “reasonable factual predicate” for its allegation of bias or bad faith, a lower burden
of proof than that for such an allegation on the merits, which requires clear and convincing
evidence. See L-3 Commc’ns, 91 Fed. Cl. at 355. Here, TRAX’s claim focuses solely on Army
conduct that is allegedly “hard to explain absent bad faith.” TRAX’s Opp’n and Reply at 10.

        TRAX argues that it has made a threshold showing of conduct that is hard to explain
absent bad faith, stating that the Army has “knowingly and deliberately ignored” problems
related to baseline staffing during the three awards in this procurement, “each time to the benefit
of Jacobs.” TRAX’s Mot. for Disc. at 12. Specifically, in the first evaluation, procurement
officials reported a “[p]roblem” regarding baseline staffing data and noted that Jacobs had used a
lower starting point for its baseline number of total labor hours compared to TRAX, see AR Tab
124, but the SSA determined that Jacobs had offered the best value, AR 30-3206. In the second
evaluation, procurement officials noted a similar problem where Jacobs had a lower starting
point for baseline labor hours compared to TRAX, see AR Tab 130, and the SSA again issued a
decision in favor of Jacobs, AR 60-5876. Third, after the SSA found for Jacobs in the third
evaluation, AR 104-8720, the Army’s corrective action explained that TRAX’s proposal had
“deviated from the baseline in the RFP instruction,” AR 114-8933. TRAX asserts that the Army
had not previously communicated with TRAX regarding this issue or made any cost adjustment
during the third evaluation process. TRAX’s Opp’n and Reply at 13.25 TRAX contends that
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         TRAX also disagrees with the Army’s baseline staffing issue as identified in the
corrective action memorandum, arguing that Jacobs’ overtime staffing approach, rather than
TRAX’s approach, violated the RFP. See, e.g., TRAX’s Opp’n and Reply at 17-19. The court
need not resolve this dispute, however, as TRAX acknowledges that this issue is “only

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these three incidents, all supposedly involving the Army’s failure to establish and enforce a
common baseline, demonstrate a pattern of improper conduct that justifies discovery. Id.

        TRAX, however, has failed to make a threshold showing of conduct by the Army that is
hard to explain absent bad faith. Although TRAX correctly notes that problems have arisen in
the three award evaluations related to baseline staffing, errors in an evaluation process do not
alone suffice to demonstrate bad faith or permit discovery. See Information Tech. &
Applications Corp. v. United States, 316 F.3d 1312, 1323 n.2 (Fed. Cir. 2003) (finding that “the
court did not err in refusing discovery on alleged bias” because the protester “merely reiterated
its contentions that the Air Force erred in evaluating the proposals”); Four Points by Sheraton v.
United States, 63 Fed. Cl. 341, 344-45 (2005) (holding that the protester’s disagreement with the
award evaluation did not indicate a motive for bias or conduct that was difficult to explain absent
bias). Similarly, the fact that Jacobs’ proposals were evaluated based upon the same staffing
starting point but with different adaptations does not show bad faith on the part of Army. See
Beta Analytics, 61 Fed. Cl. at 226 (holding that the protester failed to make the threshold
showing necessary for discovery when it argued that the “scoring of its proposal” by one
evaluator had differed from the scoring of the proposal by other evaluators, and also noting that
“[i]nnuendo or suspicion is not enough to demonstrate bad faith”) (citations omitted).

         TRAX acknowledges that it “may have been understandable” for the Army to initially
commit an error regarding the staffing baseline, but it argues that the occurrence of baseline-
related errors over the course of three evaluations justifies discovery. TRAX’s Mot. for Disc. at
12-13; see also TRAX’s Opp’n and Reply at 13 (claiming the Army has engaged in a “pattern”
of misconduct). TRAX broadly alleges that various procurement officials, including the
Contracting Officer, Cost/Price Analyst, SSA, and other personnel, have repeatedly failed to
enforce a common staffing baseline to the benefit of Jacobs, see TRAX Compl. ¶¶ 4-5, but the
critical officials for the Yuma contract have changed over the course of this procurement. For
example, the SSA was Colonel Timothy A. Starostanko for the first and second awards, AR 30-
3217; 60-5899, but was then Patrick B. Hogston for the third award, AR 104-8720. The chair of
the Source Selection Evaluation Board also changed from Christopher J. Johnson during the first
two awards, AR 29-3116; AR 58-5823, to Jeffrey B. Tatar in the third award, AR 87-8475.
Further, the Contracting Officer was R. Colette Carrizales for the first award, AR 29-3116, and
Michael K. McDaniel for the second and third awards, AR 39-3389; AR 106-8739, and is now
presently Christopher Chapple, AR 114-8934. Given these changes in the responsible officials
and the lack of evidence of misconduct, drawing an inference of bad faith is problematic.
Rather, the errors appear to simply reflect the difficulties the Army has experienced in
attempting to set a template for baseline staffing. Such difficulties stem, at least in part, from the
nature of the Yuma testing facility, which has an uneven workflow and staffing needs that are
hard to predict. See, e.g., AR 3-97 (stating that the Yuma facility requires an “ever-changing
work effort” where the demands “change[] constantly” and contractors must be “flexible and
adaptable”); AR 5b-457 (explaining that the Army could not provide “forecasted” information
regarding full-time equivalents needed beyond the base period of the contract).

       TRAX’s reliance on prior case law where discovery was permitted in a bid protest is also
unavailing. For example, in Pitney Bowes, the protester alleged bias in favor of another offeror

tangentially relevant” to TRAX’s claim; TRAX asserts that the “true issue” relates to the Army’s
failure to enforce a common staffing baseline. See id. at 28-29.

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due to a personal relationship between a member of the agency’s evaluation board and the vice
president of that offeror’s subcontractor. 93 Fed. Cl. at 330. The court found that the protester
met the threshold showing to warrant discovery after the protester had submitted affidavits
regarding improper pre-procurement communications from the contracting officer’s technical
representative. Id. at 330, 333-34. Similarly, in International Resource Recovery, the court
allowed discovery when the protester argued that the contracting officer knowingly failed to
disclose the reason for the termination of the protester’s previous contract. 61 Fed. Cl. at 40, 43.
Here, in contrast, the procurement officials involved have not engaged in improper pre-
procurement communications or intentionally or knowingly failed to disclose any information
related to Jacobs’ or TRAX’s proposals. The Army has been well aware of the issue related to
the staffing baseline, and has attempted to deal with it through amendments to the solicitation
and ENs. For example, the Army acknowledged the baseline problem during the first evaluation
process, but also noted that Jacobs proposed [***] than TRAX and would have proposed [***].
AR 124-13127, -13133. And in the second round of evaluations, the Army made [***] to
Jacobs’ costs because Jacobs’ [***]. See AR 59-5871; AR 60-5883 to -84. The Army’s
continued struggles with this staffing baseline are thus not an indication of bad faith or bias, but
rather reflect the difficult nature of estimating future staffing needs at the Yuma facility, and
Jacobs’ and TRAX’s different approaches to baseline staffing in their proposals. 26

        Under these circumstances, TRAX has not made a threshold showing of conduct that is
hard to explain absent bad faith. TRAX’s request for discovery is therefore denied. Further,
because the burden of proof for an allegation of bad faith in a discovery request is lower than the
clear and convincing standard applicable to a bad faith allegation on the merits, see L-3
Commc’ns, 91 Fed. Cl. at 355, TRAX has also failed to present a viable bias claim on the merits.
Accordingly, TRAX’s protest shall be dismissed for failure to state a claim upon which relief can
be granted pursuant to RCFC 12(b)(6).

                                         CONCLUSION

       For the reasons stated, Jacobs’ motion for judgment on the administrative record is
DENIED, and the government’s and TRAX’s cross-motions for judgment on the administrative
record are GRANTED in Jacobs, No. 16-1602C.27 Accordingly, Jacobs’ request for injunctive
and declaratory relief is DENIED. Additionally, in TRAX, No. 17-88C, TRAX’s motion for
discovery is DENIED, and the government’s motion to dismiss TRAX’s complaint is
GRANTED for failure to state a claim upon which relief can be granted. TRAX’s request for


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          TRAX notes that Jacobs received a clarification request from the Army regarding
Jacobs’ [***] on August 30, 2016, AR 84-8448, whereas TRAX did not receive such a request,
TRAX’s Opp’n and Reply at 27 n.12. However, the Army’s decision to inquire into Jacobs’
staffing proposal does not suggest bias in favor of Jacobs or against TRAX, but rather provides
further indication that the Army has had difficulty in evaluating staffing against the baseline.
The Army’s clarification request also properly occurred during the third evaluation process, and
is thus distinguishable from the improper discussions that were alleged in International Resource
Recovery, 61 Fed. Cl. at 40, 43.
       27
         TRAX’s motion to supplement the administrative record in Jacobs, see TRAX’s Mot.
to Suppl. the Administrative Record, No. 16-1602C, ECF No. 55, is DENIED as moot.

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injunctive and declaratory relief is DENIED. The clerk is directed to enter judgment in accord
with this disposition.

       No costs.

       It is so ORDERED.

                                                 s/ Charles F. Lettow
                                                 Charles F. Lettow
                                                 Judge




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